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                            EXHIBIT 1
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Teny Geragos

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Case Name:          USA v. Kingston et al
Case Number:        2:18-cr-00365-JNP-BCW
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Docket Text:
MEMORANDUM DECISION AND ORDER Continuing Trial and Denying Motions for Review of
Detention. The court ORDERS as follows: (1) Rachel and Sallys motion to continue the trial
[185] is GRANTED. A firm Jury Trial is reset for 7/29/2019 at 08:30 AM in Rm 8.200 before
Judge Jill N. Parrish. ORDER TO CONTINUE - Ends of Justice as to Jacob O. Kingston, Isaiah
Elden Kingston, Lev Aslan Dermen, Rachel Ann Kingston, Sally Louise Kingston Time
excluded from 5/13/2019 until 7/29/2019. (2) The motions for review of detention filed by Isaiah
and Lev are DENIED (Docket [189], [208], [226]). (3)The court finds that Jacob, Isiah, and Lev
are not entitled to review of their detention status under 18 U.S.C. § 3164. Signed by Judge Jill
N. Parrish on 3/14/2019.(jds)




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